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                                                                FILED: July 23, 2019


                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT


                                         ___________________

                                               No. 17-2444
                                          (1:17-cv-01793-MJG)
                                         ___________________

        ASHLEY AMARIS OVERBEY; BALTIMORE BREW

                       Plaintiffs - Appellants

        v.

        THE MAYOR AND CITY COUNCIL OF BALTIMORE; BALTIMORE CITY
        POLICE DEPARTMENT

                       Defendants - Appellees

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        AMERICAN SOCIETY OF NEWS EDITORS; ASSOCIATED PRESS MEDIA
        EDITORS; ASSOCIATION OF ALTERNATIVE NEWSMEDIA; BUZZFEED;
        GANNETT COMPANY, INCORPORATED; HOWARD UNIVERSITY
        SCHOOL OF LAW CIVIL RIGHTS CLINIC; INTERNATIONAL
        DOCUMENTARY ASSOCIATION; INVESTIGATIVE REPORTING
        PROGRAM AT UC BERKELEY; INVESTIGATIVE REPORTING
        WORKSHOP AT AMERICAN UNIVERSITY; TAWANDA JONES; MPA- THE
        ASSOCIATION OF MAGAZINE MEDIA; MARYLAND D.C. DELAWARE
        BROADCASTERS ASSOCIATION; MARYLAND-DELAWARE-DISTRICT
        OF COLUMBIA PRESS ASSOCIATION; NATIONAL PRESS
        PHOTOGRAPHERS ASSOCIATION; NATIONAL WOMEN'S LAW CENTER;
        ONLINE NEWS ASSOCIATION; PUBLIC JUSTICE; PUBLIC JUSTICE
        CENTER; REPORTERS COMMITTEE FOR FREEDOM OF THE PRESS;
        SOCIETY OF PROFESSIONAL JOURNALISTS; THE BALTIMORE SUN;
        THE CENTER FOR INVESTIGATIVE REPORTING; THE E. W. SCRIPPS
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        COMPANY; THE WASHINGTON POST; TULLY CENTER FOR FREE
        SPEECH; WASHINGTON LAWYERS' COMMITTEE FOR CIVIL RIGHTS
        AND URBAN AFFAIRS

                      Amici Supporting Appellant

                                       ___________________

                                   STAY OF MANDATE UNDER
                                     FED. R. APP. P. 41(d)(1)
                                      ___________________

              Under Fed. R. App. P. 41(d)(1), the timely filing of a petition for rehearing

        or rehearing en banc or the timely filing of a motion to stay the mandate stays the

        mandate until the court has ruled on the petition for rehearing or rehearing en banc

        or motion to stay. In accordance with Rule 41(d)(1), the mandate is stayed pending

        further order of this court.


                                                                 /s/Patricia S. Connor, Clerk
